            Case 1:22-cr-00007-LKG Document 103 Filed 08/30/22 Page 1 of 1
                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


                                                 )
 UNITED STATES OF AMERICA,                       )
                                                 )
 v.                                              )       Criminal Case No. 22-cr-00007-LKG
                                                 )
 MARILYN J. MOSBY,                               )       Dated: August 30, 2022
                                                 )
           Defendant.                            )
                                                 )

                ORDER PROHIBITING THE USE OF ELECTRONIC DEVICES
          The Court will hold a hearing on certain pre-trial motions on September 7, 2022, at 2:00
p.m., and on September 14, 2022, at 2:00 p.m., in Courtroom 1A of the Edward A. Garmatz
Building, 101 West Lombard Street, Baltimore, Maryland 21201. During these proceedings, no
person may possess or transport into Courtroom 1A any electronic devices, including cellular
telephones, cameras, recording devices of any type, “smart” watches and “smart” pens,
computers, laptops, and/or tablets, without the express permission of the Presiding Judge. All
persons subject to this Order are strongly encouraged not to bring any such electronic devices to
the courthouse.
          Exceptions: The prohibition on the use of electronic devices shall not apply to employees
of the United States District Court for the District of Maryland, the United States Marshal or his
Deputies, Court Security Officers, counsel of record in this case, employees of state and federal
law enforcement agencies, and/or investigators and employees of counsel representing parties in
the case, provided that those investigators and employees of counsel are identified to the Court in
advance. In addition, an overflow viewing room will be established in the Jury Assembly Room
on the 4th Floor of the Courthouse for credentialed members of the news media ONLY, where the
use of electronic devices is permitted. Pursuant to Local Rule 506.1, the recording (both audio
and video) and/or photographing of the proceedings in this matter is strictly prohibited.
         The United States Marshal, his Deputies, and the Court Security Officers shall enforce this
Order.
         IT IS SO ORDERED.
                                                             s/ Lydia Kay Griggsby
                                                             LYDIA KAY GRIGGSBY
                                                             United States District Judge
